                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF IOWA

DONGHYUK KIM,
                                                    Case No. 6:19-CV-02037-KEM
     Plaintiff,

v.

THE UNIVERSITY OF NORTHERN
IOWA, MARK A. NOOK, President of the
University of Northern Iowa in his official
capacity; LEAH GUTKNECHT, in her
individual and official capacities                DEFENDANTS’ MOTION TO FILE
CHRISTINA ROYBAL, in her individual               ATTACHMENTS IN SUPPORT OF
and official capacities, LESLIE K.                 THEIR MOTION TO DISMISS
WILLIAMS, in her individual and official                 UNDER SEAL
capacities, PAULA KNUDSON, in her
official capacity, NICHOLAS
RAFANELLO, in his individual and official
capacities, ALLYSON RAFANELLO in her
individual and official capacities,

     Defendants.

         COME NOW Defendants, the University of Northern Iowa (“UNI”), Mark Nook,

Leah Gutknecht, Christina Roybal, Leslie Williams, Paula Knudson, Nicholas Rafanello,

and Allyson Rafanello, and move to file two attachments to their Motion to Dismiss

under seal pursuant to LR 7 and LR 5(c)(1)-(5) , and state to the Court as follows:

         1.       Defendants wish to file two attachments in support of their Motion to

Dismiss under seal. The attachments at issue include sensitive information regarding

Defendant UNI’s investigation of a reported sexual assault, as well as personal

identifying student information and education records which must be maintained

confidential under the Family Educational Rights and Privacy Act. 20 U.S.C. See §

1232g; 34 CFR Part 99.




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      2.     Defendants respectfully request that the Court grant them leave to file two

supporting documents under seal, including 1) an Investigation Report which provides a

detailed account of Jane Roe’s allegations against Plaintiff, and 2) a Notice of Hearing

Letter sent to Plaintiff by Defendant Leslie Williams which contains identifying

information for former UNI students.

      WHEREFORE, Defendants pray the Court grant them leave to file the

attachments in support of their Motion to Dismiss described above under seal.

                                               Respectfully Submitted,

                                               THOMAS J. MILLER
                                               Attorney General of Iowa

                                                /s/ Kayla Burkhiser Reynolds
                                               KAYLA BURKHISER REYNOLDS
                                               /s/ Christopher J. Deist
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                                        PROOF OF SERVICE

                                The undersigned certifies that the
                              foregoing instrument was served upon each
                              of the persons identified as receiving a copy
                              by delivery in the following manner on
                              August 27, 2019:

                                     U.S. Mail          FAX
                                     Hand Delivery            Overnight
                              Courier
                                     Federal Express    Other
                                      ECF System Participant (Electronic
                              Service)

                              Signature: /s/AUDRA DRISH




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